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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Kiesque, Incorporated                         )
                                              )
v.                                            )       Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )       Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )       Magistrate: Hon. Mary M. Rowland
                                              )
                                              )

                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

     Doe    Store Name                       ID Number
      3     LEMOOC Official Store            cn1518597794ybce
     139    Nail Unique Store                5afa78345a896162bd5940ff
     402    beautypartyalley                 582ac2462f5e53413ea95ce2
     449    fashioncamp                      58d4c4e439c21f57d4bcc0b6
     529    nicolediary                      56ef86843a698c20be6d9579



Dated: March 25, 2019
                                              Respectfully submitted,


                                              By:      s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

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